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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                              Tampa Division

  MSR MEDIA SKN LTD., MSR
  HOTELS & CO. LTD., MSR MEDIA
  INTERNATIONAL LLC, and
  PHILIPPE MARTINEZ,
                                         Case No. 8:24-cv-01248-KKM-AAS
                      Plaintiffs,

        – against –

  LESLIE KHAN, CARIBBEAN
  GALAXY REAL ESTATE CORP.,
  CARIBBEAN GALAXY REAL
  ESTATE LTD., YING JIN,
  TIMOTHY HARRIS, DENZIL
  DOUGLAS, CARIB TRUST LTD.,
  FARON LAWRENCE, ST. KITTS-
  NEVIS-ANGUILLA NATIONAL
  BANK LTD., and MCCLAUDE
  EMMANUEL,

                      Defendants.



                  DECLARATION OF MIDGE A. MORTON

        I, MIDGE A. MORTON, pursuant to 28 U.S.C. § 1746, hereby declare

  under penalty of perjury under the laws of the United States as follows:

        1.    I submit this declaration in support of Caribbean Galaxy Real

  Estate Corporation, Caribbean Galaxy Real Estate Limited, and Ying Jin’s

  (the “Caribbean Galaxy Parties”) Motion to Dismiss.
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        2.    Unless otherwise indicated, all facts set forth in this Declaration

  are based upon: (a) my personal knowledge; (b) my review of relevant

  documents and legal authorities; and (c) information supplied to me by the

  Caribbean Galaxy Parties or professionals retained by them.

  Professional Background and Qualifications

        3.    I am an attorney-at-law licensed to practice in the Federation of

  Saint Christopher & Nevis (hereinafter referred to as “the Federation”). I

  became qualified to practice law in the Federation on 31 October, 2006. Since

  that time, I have practised mainly in the Federation, appearing before the

  High Court of Justice and Court of Appeal. I am also called to the Bar of

  Anguilla. I am co-founder and managing partner of Morton Robinson, L.P.,

  one of the leading law firms in the Federation of Saint Christopher and Nevis

  established since 2010. My main practice areas are in corporate and

  commercial law and civil litigation covering a wide spectrum of areas

  inclusive of actions in property, tort, contract and the like. From time to time

  and as recently as February 2024, I have appeared as guest lecturer on

  various courses at the Norman Manley Law School, Kingston, Jamaica,

  tutoring law students on a number of topics associated with my practice of

  the law in the Federation.

        4.    Between 2021 and 2023 my firm was occasionally engaged by

  several of the Plaintiffs to perform limited work that is unrelated to the

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  current application. My firm mainly assisted with the incorporation of the

  Plaintiffs’ local company on the island of Nevis on or around January 2021,

  and in that capacity my firm acted as the registered agent of MSR Media

  prior to them transferring the agency to another service provider in April

  2022. Separate and apart therefrom, my firm provided non-privileged legal

  opinions to third parties at the behest of the Plaintiffs on issues relating to

  intellectual property rights, and performed notary services with respect to

  documents related to the Plaintiffs’ movie business up to September 2023.

         5.     Because my firm’s involvement with MSR Media is unrelated to

  any CBI-related matters or any issues arising from this lawsuit, my firm’s

  prior involvement does not prohibit me from providing this expert opinion at

  the request of the Caribbean Galaxy Parties. There is no conflict in my

  offering an opinion on this matter.

  Jurisdiction

         6.     Under the Federation’s laws1 and applicable procedural rules2,

  the Plaintiffs could assert claims against each of the Defendants in the


         1
           Our Eastern Caribbean Supreme Court (SKN) Act (all of the OECS Member States
  have similar ECSC legislations) vests all jurisdiction in our courts."
         2
          In so far as procedure is concerned, (unless otherwise expressly excluded by the Eastern
  Caribbean Supreme Court Rules), Section 6 (3) of that Act prescribes as follows,
          “The Jurisdiction of this Act vested in the High Court shall be exercised (so far as
  regards practice and procedure) in the manner provided by this Act, the enactments of the
  legislature of the State and Rules governing the practice and procedure of the High Court in
  England.” See also: First Caribbean International Bank (Barbados) Limited v. Sunset Village
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  Eastern Caribbean Supreme Court based on the events described in the

  Complaint in this case (ECF 1, the “RICO Complaint”), and the Eastern

  Caribbean Supreme Court would have jurisdiction to entertain each such

  claim.

         7.      The Eastern Caribbean Supreme Court is the superior court of

  record for the Organisation of Eastern Caribbean States (OECS), including

  the Federation and St. Lucia. The Eastern Caribbean Supreme Court,

  formerly, the West Indies Associated States Supreme Court finds its origins in

  the West Indies Act of 1967. The latter Act provided for the Crown to form

  common courts in the Associated States (as it was then – now Member

  States) and the fusion of the High Court and the Court of Appeal into one

  Supreme Court. It therefore means that all the individual states which form

  the OECS are confined to one Supreme Court which performs supervisory

  jurisdiction over the legal system of the individual states.3




  Inc.SLUHCVAP2016/0027 (September 20, 2018) where the point is made that local courts may
  import common law but not statutory provisions into our local laws.
         3
            In Anselm Caines v. Everton Elliott SKBHCV2021/0211, Pariagsingh, M (as he then
  was), made it clear at paragraph [41] of his judgment that the St. Lucia court and the [St. Kitts &]
  Nevis Court are both Member states of th[e] Eastern Caribbean Supreme Court. “St. Lucia is a
  different State within the jurisdiction of this Court.”
          The Eastern Caribbean Supreme Court Civil Procedure Rules, 2023 (“CPR”) defines
  jurisdiction as, "the jurisdiction of the court as extending throughout the Member States and
  Territories and any part of their territorial waters.” The same rules define Member States to
  include, Antigua & Barbuda, Commonwealth of Dominica, Grenada, St. Kitts & Nevis, St.
  Lucia and St. Vincent and Grenadines.

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         8.      As an initial matter, several of the parties are already involved in

  litigation in the Eastern Caribbean Supreme Court. Defendants, Ying Jin,

  Timothy Harris, and Caribbean Galaxy Real Estate Corporation have sued

  Plaintiffs, Philippe Martinez and MSR Media SKN Ltd. for defamation in the

  Eastern Caribbean Supreme Court (the “defamation action”), and that action

  remains pending. It certainly is open to the Plaintiffs to either counterclaim

  or initiate fresh action against the Caribbean Galaxy group in the

  Federation, since the allegations of defamation on the claims brought in the

  Federation appear for the most part to be related and or at least connected

  with matters arising from the RICO complaint. Our Eastern Caribbean

  Supreme Court (SKN) Act carves out a section specific to counterclaims and

  third parties4 whereby the court has power to entertain claims by any


         “Counterclaim and third parties.
           18. (1) The Court or Judge shall have power to grant to any defendant in respect of any
  equitable estate or right or other matter or equity and also in respect of any legal estate, right or
  title claimed or asserted by him or her—
          (a) all such relief against any plaintiff or petitioner as the defendant has properly
  claimed by his or her pleading, and as the Court or Judge might have granted in any suit
  instituted for that purpose by that defendant against the same plaintiff or petitioner; and
          (b) all such relief relating to or connected with the original subject of the cause or
  matter, claimed in like manner against any other person, whether already a party to the cause or
  matter or not, who has been duly served with notice in writing of the claim pursuant to rules of
  court or any order of the Court, as might properly have been granted against that person if he or
  she had been made a defendant to a cause duly instituted by the same defendant for the like
  purpose.
         (2) Every person served with any such notice as aforesaid shall thenceforth be deemed a
  party to the cause or matter with the same rights in respect of his or her defence against the
  claim as if he or she had been duly sued in the ordinary way by the defendant.” (Emphasis
  included).
                                                    5
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  defendant to an action asserting a legal and or equitable right. In similar

  vein, under our applicable procedural rules, that is to say, the Eastern

  Caribbean Supreme Court Rules, 2023 as amended, Mr. Martinez and MSR

  Media SKN Ltd. are permitted to assert counterclaims, such as claims for

  fraud or for tortious interference with contract, against Ms. Jin and

  Caribbean Galaxy Real Estate Corporation in the defamation action, but

  elected not to.

         9.     Had Mr. Martinez and MSR Media SKN Ltd. elected to assert

  counterclaims against Ms. Jin, Mr. Harris, and Caribbean Galaxy Real

  Estate Corporation in the defamation action, the Eastern Caribbean Supreme

  Court would have had jurisdiction over each such counterclaim against each

  of Ms. Jin, Mr. Harris, and Caribbean Galaxy Real Estate Corporation.

         10.    The Eastern Caribbean Supreme Court would quite naturally

  have had in personam jurisdiction over Mr. Harris and Caribbean Galaxy

  Real Estate Corporation for the additional reason that Mr. Harris is a citizen

  of and permanently resides in the Federation, and Caribbean Galaxy Real

  Estate Corporation is incorporated pursuant to the laws of the Federation

  and thus subject to, amongst other things, service of process there5.




         5
            See Section 68 of the Companies Act, Cap. 21.03 of the Revised Laws of the Federation
  of St. Kitts and Nevis.

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        11.   Additionally, the Eastern Caribbean Supreme Court would have

  jurisdiction over claims asserted by Plaintiffs against Ms. Jin, because Ms.

  Jin has a place of residence in St. Paul’s, St. Kitts, conducts real estate and

  other business and is the CEO of Caribbean Galaxy Real Estate Corporation,

  which is incorporated and has its principal place of business in the

  Federation, and Ms. Jin has initiated litigation in the Eastern Caribbean

  Supreme Court that remains pending.

        12.   The Eastern Caribbean Supreme Court would also have in

  personam jurisdiction over Defendants Caribbean Galaxy Real Estate Ltd.,

  Faron Lawrence, Carib Trust Ltd., Denzil Douglas, St. Kitts-Nevis-Anguilla

  National Bank, and McClaude Emanuel, because each either ordinarily

  resides and carries on business in, or is incorporated and therefore subject to

  service in the Federation or St. Lucia.

        13.   The Eastern Caribbean Supreme Court would also have

  jurisdiction over Defendant Leslie Khan who was at all material times, the

  head of the Citizenship Investment Unit (CIU) during the alleged events

  described in the RICO complaint, and because the alleged fraud occurred in

  the Federation. See infra. ¶ 14, n.3; (ECF 1 ¶¶ 1-6.)

  Possible Relief and Powers of the Eastern Caribbean Supreme Court

        14.   If the Plaintiffs sued the Defendants in the Eastern Caribbean

  Supreme Court, they could assert claims similar to those they assert in the

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  RICO complaint. For example, the Plaintiffs could assert claims for tortious

  interference with contract, much like Counts II and III of the RICO

  complaint.6        The elements of a tortious interference claim under the

  Federation laws are based in common law – which is applicable throughout

  the Eastern Caribbean States, including in St. Kitts and Nevis and St.

  Lucia.7

         15.     A cause of action for common law fraud is also available under

  the Federation or St. Lucia law.8 Such a claim would be substantially similar


         6
           Faustinus Venoid George v. The Attorney General of Saint Lucia SLUHCV2019/0571
  (delivered on 7 July 2023); Sol Aviation Services Limited v. Rubis West Indies Limited
  ANUHCVAP2019/0016 (delivered on 23 October 2019) (Antigua & Barbuda); Russell Crumpler
  and Christopher Farmer (as Joint Liquidators of Peak Hotels and Resorts Limited (In
  Liquidation) v. Jinpeng Group Limited BVIHC (COM) 0116/2014 (delivered on 4 April 2019)
  (St. Lucia); Dr. Abner James v. The Medical and Dental Council SLUHCVAP2018/0018
  (delivered on 12 March 2020) (British Virgin Islands (BVI)).
         7
            In VTB Capital plc v. Nurtritek International Corporation [2013] UKSC 5, 6, the court
  there held that jurisdiction in tort cases is established on the basis of where the tort was
  committed and where it would be manifestly just and reasonable that the defendant should
  answer for his wrongdoing. “If the substance of an alleged tort is committed within a certain
  jurisdiction, it is not easy to imagine what other facts could displace the conclusion that the
  Courts of that jurisdiction are the natural forum.” In the context of the current dispute, it is clear
  that the allegations of fraud were conceptualized in the Federation and or St. Lucia and that the
  parties to the concert, have a real, permanent and substantial connection to the Federation and or
  St. Lucia since at all material times, they were resident and or carried on business within the
  Federation and or St. Lucia. Put simply, the named defendants have a reputation to protect in the
  Federation and or St. Lucia as the case may be.
         8
           See Yvette Downes Logan v. Wald… at paragraph 12 - 13 of the judgment which
  adopts the learning of Lord Denning as stated in Lazarus Estate Ltd v. Beasley [1956] 1 QB 702,
  712, which puts the position with respect to our courts views on fraud as follows:
         “No court in this land will allow a person to keep an advantage which he has obtained by
         fraud. No judgment of a court, no order of a Minister, can be allowed to stand if it is
         obtained by fraud. Fraud unravels everything. The court is careful not to find fraud
         unless it is distinctly pleaded and proved; but one it is proved, it vitiates judgments,
         contracts, and all transactions whatsoever…

                                                    8
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  to Plaintiffs’ RICO complaint, in which the Plaintiffs allege that every one of

  the Defendants committed fraud.

         16.     Available relief for prevailing on such claims might include

  money damages, an accounting, or tracing – all forms of relief recognized

  under our laws whether by statute and or by the common law.9

         17.     Additionally, MSR Media SKN is already seeking relief in the

  Federation courts based on the same events alleged in the RICO complaint.

  MSR Media SKN has filed an application for judicial review against current

  Federation Prime Minister Terrance Drew in the Kittian High Court. See


         In Lazarus Estates the court explored the viability of an assertion that a statutory
         limitation period did not apply where a defence of fraud was raised in answer to a claim
         for arrears of rent. Statute, in that case, required the applicant to challenge a claim for
         arrears of rent on certain grounds, particularly that “…the repairs had not been done to
         the value specified…”. A challenge on the grounds set out in the statute could only be
         brought within a period of 28 days. Fraud was not limited as one of the grounds on which
         a challenge should be raised within the 28 days’ limitation period. The court found that
         the claimant –
                 “…by challenging the declaration on the ground that it was fraudulent was
                 challenging its validity on grounds other than that the repairs had not been done
                 to the value specified therein, for fraud vitiates all transactions known to the law,
                 and the landlords could not recover rent by reason of their fraud.”
         9
            Section 22 of the Eastern Caribbean Supreme Court (SKN) Act makes it clear that the
  Court has jurisdiction to grant any order a party proves to be entitled to and that such a judgment
  shall be finally determined. The section specifically prescribes that,
          “The High Court and the Court of Appeal respectively in the exercise of the jurisdiction
  vested in them by this Act shall in every cause or matter pending before the Court grant either
  absolutely or on such terms and conditions as the Court think just, all such remedies whatsoever
  as any of the parties thereto may appear to be entitled to in respect of any legal or equitable
  claim or matter so that, as far as possible, all matters in controversy between the parties may be
  completely and finally determined, and all multiplicity of legal proceedings concerning any of
  these matters avoided.”


                                                   9
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  MSR Media SKN Ltd. v. Hon. Terrance Drew, No. SKBHCV2024/0087. MSR

  Media SKN seeks an order of mandamus requiring Drew to cancel all

  certificates of citizenship issued in connection with Galaxy SKN’s jail project.

  Id. The application for judicial review remains pending.

        18.      A final judgment entered by the Eastern Caribbean Supreme

  Court would be enforceable internationally, subject to foreign jurisdictions’

  rules of comity.

        19.      The Eastern Caribbean Supreme Court has the power to compel

  the attendance of witnesses. This power includes absolute authority to

  require witnesses within the Court’s jurisdiction, including witnesses who

  permanently reside in OECS nations such as the Federation or Saint Lucia,

  to testify. If a witness is outside the Eastern Caribbean Supreme Court’s

  jurisdiction, the Court may issue a letter of request to a foreign court to seek

  the foreign court’s assistance in compelling witness attendance.10

                                            *        *    *

        [Intentionally left blank.]




        10
             See EC CPR Part 33 on Court Attendance by Witnesses and Depositions.

                                                10
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         I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 under

   the laws of the United States that the foregoing is true and correct.



   Executed on 31 t October 2024 at Charlestown,      ev1s in the Federation of
   St. Kitts and Nevis.




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